Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 1 of 16




                Exhibit 6
            Filed Under Seal
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 2 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 3 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 4 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 5 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 6 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 7 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 8 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 9 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 10 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 11 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 12 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 13 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 14 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 15 of 16
Case 3:17-cv-00939-WHA Document 2693-5 Filed 01/28/19 Page 16 of 16
